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 8
 9
                        IN THE UNITED STATES BANKRUPTCY COURT
10
                                 FOR THE DISTRICT OF ARIZONA
11
12
      SEAN MICHAEL HARRUM,                               Case No. 2:20-bk-00322-PS
13
14                         Debtor.                       Chapter 13

15                                                       MOTION FOR RELIEF FROM
16    U.S. BANK NATIONAL ASSOCIATION,                    AUTOMATIC STAY

17                         Movant,
18                                                       Re: Real Property Located at:
      v.                                                 8520 W Palm Ln Unit 1004
19                                                       Phoenix, AZ 85037
20    SEAN MICHAEL HARRUM, Debtor; and
      RUSSELL BROWN, Ch 13 Trustee,
21
                           Respondents.
22
23
24          Movant hereby requests an order granting relief from the automatic stay of 11 U.S.C.
25   § 362(a), to permit Movant to foreclose the lien of its Deed of Trust on real property owned by
26   the Debtor in possession, by trustee’s sale, judicial foreclosure proceedings or the exercise of
27   the power of sale, and to obtain possession and control of the real property.
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 1           This motion is supported by the attached Memorandum of Points and Authorities, which
 2   is incorporated herein by this reference.
 3                          MEMORANDUM OF POINTS AND AUTHORITIES
 4           On January 10, 2020, SEAN MICHAEL HARRUM (“Debtor”) filed a voluntary petition
 5   for protection under Chapter 13 of the Bankruptcy Code. RUSSELL BROWN (“Trustee”) was
 6   appointed trustee of the bankruptcy estate. The Trustee and bankruptcy estate have an interest
 7   in certain real property located in Maricopa County, at 8520 W Palm Ln Unit 1004 Phoenix,
 8   AZ 85037 , and more legally described as:
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10
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12
13           U.S. BANK NATIONAL ASSOCIATION, its successors and/or assigns (“Movant”) is
14   the holder or servicer of a Promissory Note which is secured by a Deed of Trust, dated May 30,
15   2017, and recorded in the Office of the Maricopa County Recorder’s Office on May 31, 2017
16   as Document No. 20170397360 (“Deed of Trust”). The Deed of Trust was assigned to U.S.
17   BANK NATIONAL ASSOCIATION by an Assignment of Mortgage recorded in Maricopa
18   County as Document No. 20180102315. True copies of the Note, Deed of Trust and
19   Assignment(s) are attached hereto as Exhibits “A”, “B” and “C,” respectively, and made a
20   part hereof by this reference.
21           Debtor is in default on his obligation to Movant for which the property is security, and
22   payments are due under the Promissory Note from and after December 1, 2023. The current
23   default amount is set forth below:
24           6 Monthly Payments at $690.35 each                                                    $4,142.10
25           (12/1/2023 thru 5/1/2024)

26           TOTAL ARREARS:                                                                        $4,142.10
27   *To the extent Attorneys’ Fees have been requested herein, the fees requested are based upon the Movant’s fee schedule
     relating to Movant’s loans. Any Attorneys’ Fees requested herein have been reviewed and approved by the undersigned and
28   are in compliance with the Bankruptcy Code and any applicable agreements and as required by the Court assigned to this
     matter.

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 2          Furthermore, a payment becomes due on the 1st day of every month thereafter, and a late
 3   charge becomes due on any payment not paid within fifteen (15) days from the date the
 4   monthly payment is due.
 5          Movant is informed and believes and therefore alleges that the Debtor and estate are not
 6   adequately protected based upon the Debtor's failure to make payments on a timely basis.
 7
            As of May 16, 2024 Debtor is indebted to the Movant in the total amount of
 8
     $110,092.89, plus accruing interest, costs and attorneys’ fees.
 9
                                             CONCLUSION
10
            Movant requests that the Court enter an order vacating the automatic stay of 11 U.S.C.
11
     § 362(a) and Movant may immediately enforce and implement the order for relief from the
12
     automatic stay as to the Debtor, his bankruptcy estate, the property, and Movant; to allow
13
     Movant to foreclose the lien of its Deed of Trust or Mortgage; to evict Debtor(s) and/or
14
     successors of Debtor(s); and to obtain ownership, possession and control of the Property.
15
     Movant further requests that any Order shall remain in effect in any bankruptcy chapter to
16
17   which the Debtor(s) may convert. Movant requests the 14-day stay provided by bankruptcy

18   rule 4001(a)(3) be waived by this bankruptcy court.

19
20          DATED this ____
                        9th day of ___________,
                                    July        20__.
                                                   24

21                                             /s/ Christina Harper
22                                             Christina Harper, Esq.
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23                                             2999 N. 44th Street, Suite 625
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                                               Attorneys for Movant
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